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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


UNDER ARMOUR, INC.                                       )
  1020 Hull Street                                       )
  Baltimore, Maryland 21230,                             )    Civil Action No. 1:21-cv-2045
                                                         )
                       Plaintiff,                        )    JURY TRIAL
                                                         )    DEMANDED
                v.                                       )
                                                         )
MOUNTAIN ARMOR, LLC                                      )
  305 South Colorado Avenue                              )
  Laramie, Wyoming 82070,                                )
                                                         )
                       Defendant.                        )
                                                         )

                                          COMPLAINT

       Plaintiff Under Armour, Inc. alleges as follows, upon actual knowledge with respect to

itself and its own acts, and upon information and belief as to all other matters:

                                    NATURE OF THIS ACTION

       1.       This is a civil action for trademark infringement, trademark dilution, and unfair

competition under the Lanham Act, 15 U.S.C. § 1051, et seq., and trademark infringement and

unfair competition under Maryland statutory and common law. Under Armour seeks equitable

and monetary relief from Defendant’s willful violations of Under Armour’s trademark rights in

its famous UNDER ARMOUR mark, ARMOUR mark, and other ARMOUR-formative marks

(the “ARMOUR Marks”).

       2.       Defendant has been offering for sale, selling, and promoting apparel, including

hats and t-shirts, under the MOUNTAIN ARMOR mark—which misappropriates the core of

Under Armour’s branding and violates Under Armour’s trademark rights in multiple ways. As a

result of Defendant’s use of MOUNTAIN ARMOR in connection with its apparel products,


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consumers are likely to confuse them with Under Armour. Under Armour has tried to resolve

this matter numerous times, but Defendant does not appear interested.

                                             PARTIES

       3.       Plaintiff Under Armour is a Maryland corporation with a principal place of

business at 1020 Hull Street, Baltimore, Maryland 21230.

       4.       Defendant Mountain Armor, LLC is limited liability company with an address at

305 South Colorado Avenue, Laramie, Wyoming 82070.

                                 JURISDICTION AND VENUE

       5.       This Court has jurisdiction over the subject matter of this action pursuant to 15

U.S.C. § 1121 and 28 U.S.C. §§ 1331, 1338(a) and (b). Because Under Armour is a citizen of

the State of Maryland, Defendant is a citizen of the State of Wyoming, and the matter in

controversy exceeds $75,000 exclusive of interests and costs, the Court also has jurisdiction

under 28 U.S.C. § 1332. The Court has supplemental jurisdiction over Under Armour’s state-

law claims pursuant to 28 U.S.C. § 1367(a) because they are substantially related to its federal

claims and arise out of the same case or controversy.

       6.       This Court has specific personal jurisdiction over Defendant because Defendant

purposefully availed itself of the privilege of conducting business in Maryland. Defendant

offers, markets, and promotes its products bearing the MOUNTAIN ARMOR mark through its

website and other means to consumers located in Maryland and elsewhere and uses that mark to

promote and advertise its products in Maryland and elsewhere.

       7.       Venue lies in this District pursuant to 28 U.S.C. § 1391(b) and (c) because a

substantial part of the events giving rise to Under Armour’s claims have occurred and are




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continuing to occur in this District, and Under Armour’s trademarks at issue are located in this

District, where Under Armour maintains its principal place of business.

        UNDER ARMOUR, ITS PRODUCTS, AND ITS ARMOUR TRADEMARKS

        8.       Under Armour is one of the world’s most successful, popular, and well-known

providers of apparel, footwear, sporting goods, and accessories. Through Under Armour’s

innovative use of advanced engineering and technology, it has revolutionized the performance-

product industry. In 2020 alone, Under Armour sold over $4.5 billion worth of products.

        9.       Since at least as early as 1996, Under Armour has continuously used and

promoted (through itself, its predecessor in interest, and its licensees) the UNDER ARMOUR

name/mark for apparel.

        10.      Over the years, Under Armour has expanded to a wide range of other products

and services, including a full line of men’s and women’s athletic clothing, footwear, headwear,

and accessories; workwear; tactical wear; bags; and sports equipment. The distinctive UNDER

ARMOUR name/mark has been used and promoted across Under Armour’s extensive product

line.

        11.      In addition to its UNDER ARMOUR name/mark, Under Armour has used and

promoted the ARMOUR mark alone and numerous other ARMOUR-formative marks in

connection with its wide range of products and services including GAMEDAY ARMOUR,

BABY ARMOUR, OFFSHORE ARMOUR, SUN ARMOUR, ARMOUR BRA, ARMOUR

STRETCH, ARMOUR GRABTACK, ARMOUR FLEECE, ARMOUR SELECT, ARMOR

ELITE, ARMOUR ACCESS, ARMOURBLOCK, ARMOURSTORM, ARMOURLOFT,

ARMOURGRIP, ARMOURSIGHT, ARMOURSTEALTH, ARMOURBOX, and MY

ARMOUR, among others. These ARMOUR-formative marks have been used and promoted



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individually and/or together, and consumers have come to associate the ARMOUR portion of the

marks with UNDER ARMOUR.

       12.    Among its numerous products, Under Armour has for years offered a variety of

apparel, including hats and t-shirts, under its ARMOUR Marks e.g.:




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                        UNDER ARMOUR’S SALES AND
                PROMOTION OF ITS ARMOUR-BRANDED PRODUCTS

       13.     Under Armour has sold billions of dollars worth of products under the UNDER

ARMOUR and ARMOUR Marks, which are promoted, offered, and sold nationwide through a

wide variety of retail means, including thousands of retail stores. These include Under Armour’s

own Factory and Brand House retail stores, as well as national, regional, independent, and

specialty retailers such as Foot Locker, Finish Line, Dick’s Sporting Goods, Kohl’s, Macy’s,

Dunham’s, Modell’s, Hibbett Sports, Nordstrom, Academy Sports & Outdoors, Bass Pro Shops,

Cabela’s, and The Army and Air Force Exchange Service.

       14.     Under Armour’s products are also offered, sold, and promoted through its own

websites, catalogs, and toll-free call center and the websites and mail order catalogs of many of

its retailers, including the websites used by Bloomingdales.com, Cabela’s, Bass Pro Shops, City

Sports, Dick’s Sporting Goods, Eastbay, Eastern Mountain Sports, Finish Line, Foot Locker,
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Gilt Groupe, Hibbett, Kohl’s, LL Bean, Lord & Taylor, Macys.com, MC Sports, Modell’s,

Nordstrom, Sportsman’s Guide, and Sportsman’s Warehouse.

       15.     For years, Under Armour has spent tens of millions of dollars annually

advertising and promoting its ARMOUR Marks and products to the general public. Under

Armour has done so, widely and extensively, through virtually every available type of media,

including print publications, signage, television, and the Internet.

       16.     Under Armour also promotes and showcases its ARMOUR Marks and products

on its own and authorized websites and social media sites, including www.underarmour.com,

www.facebook.com/underarmour, www.twitter.com/underarmour, and

www.instagram.com/underarmour, among others.

       17.     Under Armour has run extensive, nationwide advertising campaigns that reinforce

the ARMOUR Marks as a potent shorthand for Under Armour and its vast product offerings—

for example the THIS IS YOUR ARMOUR, EARN YOUR ARMOUR, ARMOUR UP, YOUR

ARMOUR JUST GOT LIGHTER, and UNDER THE ARMOUR campaigns:




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       18.    With respect to publications and signage, Under Armour has advertised and

promoted its ARMOUR Marks and products in a wide variety of nationally circulated magazines

and newspapers.

       19.    Further, the ARMOUR Marks have been featured on billboards and other signage

in various cities, including Baltimore, Philadelphia, and New York City’s Times Square.

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       20.     Under Armour has advertised and promoted its ARMOUR Marks and products

through television commercials, including a television commercial during the Super Bowl;

product placement in popular movies, national television programs, and video games; and

coverage of sporting events featuring its branded products, among other means.

       21.     Sponsorships, outfitting agreements, individual athlete agreements, and

partnerships with famous celebrities represent another significant form of advertising and

promotion. Under Armour’s ARMOUR Marks have been promoted through high-profile

athletes and teams at the youth, collegiate, professional, and Olympic levels including, for

example, the most decorated Olympian of all time Michael Phelps; World Champion ski racer

Lindsey Vonn; ballerina Misty Copeland; NBA basketball stars Steph Curry (Golden State

Warriors) and Joel Embiid (Philadelphia 76ers); MLB baseball stars Bryce Harper (Philadelphia

Phillies) and Buster Posey (San Francisco Giants); NFL football stars Tom Brady (Tampa Bay

Buccaneers), Cam Newton, and Patrick Peterson (Arizona Cardinals); supermodel Giesele

Bündchen; famous celebrity Dwayne “The Rock” Johnson; college sports teams such as Auburn,

Notre Dame, Boston College, University of Maryland, Northwestern University, Navy, and

South Carolina; and high school sports teams around the country.




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       22.    Since 2006, Under Armour has been an authorized supplier of footwear to the

NFL and is currently also an official performance footwear supplier to the MLB and authorized

supplier of gloves to the NFL.

       23.    In addition to its own substantial advertising and promotional activities, Under

Armour and its ARMOUR Marks and products have received and continue to receive

widespread unsolicited media coverage. Indeed, many of the athletes, teams, and sporting events

sponsored by Under Armour appear on nationally broadcast television programs and in widely

circulated publications, exposing tens of millions of consumers to the ARMOUR Marks.
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       24.     Under Armour has received numerous awards for its commercial success in

connection with the development of its innovative and technologically enhanced products and its

marketing and branding achievements. In 2014, Under Armour received the prestigious

“Marketer of the Year” Award from Advertising Age magazine. That same year, Yahoo Finance

named Under Armour the 2014 “Company of the Year.” In 2015 and 2016, Under Armour

ranked #4 (with a brand value of $5 billion in 2015 and $5.5 billion in 2016) on the Forbes list of

“The World’s Most Valuable Sports Brands.” In 2016, Under Armour also received the

preeminent marketing industry award for the best “Ad of the Year” from AdWeek for its “Rule

Yourself” campaign featuring 28-time Olympic medalist Michael Phelps.

       25.     As a result of its distinctive nature, and thus inherent strength; widespread

advertising, publicity, promotion, and sales; and longstanding and extensive use and recognition,

the UNDER ARMOUR mark has been well known and famous for years.

       26.     In Under Armour, Inc. v. Exclusive Innovations, Inc., No. SAG-20-03427 (D. Md.

May 21, 2021), this Court noted that “Under Armour’s marks are famous in the United States

due to its national advertising, celebrity sponsorships, and the number of in person and online

retail locations.” Similarly, in Under Armour, Inc. v. Bode, Opp. No. 91178653 (TTAB May 21,

2009), the Trademark Trial and Appeal Board of the United States Patent and Trademark Office

(PTO) expressly acknowledged the fame of the UNDER ARMOUR mark.

                  UNDER ARMOUR’S TRADEMARK REGISTRATIONS
                           FOR ITS ARMOUR MARKS

       27.     Under Armour owns, among others, the following valid and subsisting U.S.

federal trademark registrations for its UNDER ARMOUR marks (true and correct copies of

which are attached as Exhibit A):




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                 Reg. No.
    Mark                                       Goods/Services
                 Reg. Date
UNDER ARMOUR    2279668      Clothing, namely, t-shirts, long sleeve shirts, mock
                09-21-1999   turtle necks, hats, shorts, shirts, leggings, jersey’s, pants,
                             headwear for winter and summer, under wear, tank tops
                             (male and female), winter caps, sweat shirts/pull overs,
                             women’s bra in Class 25
                2917039      Wristbands, headbands, rain suits, jackets, socks, skirts,
UNDER ARMOUR
                01-11-2005   athletic sleeves, hoods, skull wraps, skull caps, vests,
                             hats, shorts, shirts, leggings, pants, headwear for winter
                             and summer, underwear, tank tops, bras, girdles in
                             Class 25
UNDER ARMOUR    3178549      Athletic footwear in Class 25
                11-28-2006
UNDER ARMOUR    3642614      Full line of athletic clothing in Class 25
                06-23-2009

UNDER ARMOUR    3712052      Ankle socks; athletic uniforms; baseball caps; baseball
                11-17-2009   shoes; baseball uniforms; baselayer bottoms; baselayer
                             tops; beach footwear; boxer briefs; boxer shorts; briefs;
                             capri pants; children’s headwear; coats; dresses; fleece
                             pullovers; football shoes; footwear; foul weather gear;
                             golf caps; golf shirts; golf trousers; hooded pullovers;
                             hunting vests; jogging pants; knit shirts; men’s socks;
                             mittens; moisture-wicking sports bras; moisture-wicking
                             sports pants; moisture-wicking sports shirts; polo shirts;
                             rain jackets; rain trousers; rainproof jackets; rainwear;
                             running shoes; short-sleeved or long-sleeved t-shirts;
                             short-sleeved shirts; ski bibs; ski gloves; ski jackets; ski
                             pants; ski wear; skorts; sleeveless jerseys; snow pants;
                             snowboard gloves; snowboard mittens; snowboard
                             pants; soccer boots; sport shirts; sports bras; sports
                             jerseys; sports pants; sports shirts; sweat bands; sweat
                             pants; tennis wear; thongs; thongs; training shoes;
                             undershirts; visors; waterproof jackets and pants; wind
                             pants; wind resistant jackets; wind shirts in Class 25
UNDER ARMOUR    4225998      Baseball shoes; Basketball sneakers; Beachwear; Bib
                10-16-2012   overalls for hunting; Camouflage gloves; Camouflage
                             jackets; Camouflage pants; Camouflage shirts;
                             Camouflage vests; Cleats for attachment to sports shoes;
                             Fishing shirts; Football shoes; Golf shorts; Hunting
                             jackets; Hunting pants; Hunting shirts; Sneakers;
                             Swimwear; Volleyball jerseys; Yoga pants; Yoga shirts
                             in Class 25



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                            Reg. No.
          Mark                                            Goods/Services
                            Reg. Date
  UNDER ARMOUR             3700135       Clothing for athletic use, namely, padded shirts, padded
                           10-20-2009    pants, padded shorts, padded elbow compression sleeves
                                         in Class 25

                                         Bags specially adapted for sports equipment; golf
                                         gloves; batting gloves; football gloves; lacrosse gloves;
                                         mouth guards for athletic use; cases for holding athletic
                                         mouth guards; athletic equipment, namely, guards for
                                         the lips; chin pads for athletic use; knee pads for athletic
                                         use; elbow pads for athletic use; forearm pads for
                                         athletic use; shin guards for athletic use; football girdles
                                         in Class 28
  UNDER ARMOUR            3722377        Football towels; golf towels; towels in Class 24
                          12-08-2009
  UNDER ARMOUR            3500322        Eyewear, namely, sunglasses, lenses for sunglasses,
                          09-09-2008     and visors for use with helmets in Class 9
  UNDER ARMOUR            4135826        Eyewear; goggles for sports in Class 9
                          05-01-2012
  UNDER ARMOUR            3901624        Backpacks specially adapted for holding laptop
                          01-04-2011     computers in Class 9
  UNDER ARMOUR            3375771        Retail store services featuring apparel and sporting
                          01-29-2008     goods in Class 35

  UNDER ARMOUR            3638277        Online retail store services featuring apparel, footwear,
                          06-16-2009     sporting goods, eyewear, headwear, wrist bands, sweat
                                         bands, belts, gloves, hand-warmers, plastic water
                                         bottles sold empty, sports bags, tote bags, travel bags,
                                         backpacks, messenger bags, duffel bags, wheeled bags,
                                         sling bags, umbrellas, towels in Class 35

       28.     Under Armour also owns, among others, the following valid and subsisting U.S.

trademark registrations for the ARMOUR mark per se and other ARMOUR-formative marks,

including for clothing, footwear, accessories, and other products (true and correct copies of

which are attached as Exhibit B):

                            Reg. No.
       Mark                                                 Goods/Services
                           Reg. Date
ARMOUR                   3392904         Clothing, excluding golf clothing, namely, shorts, shirts,
                         03-04-2008      pants, and gloves in Class 25



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                             Reg. No.
       Mark                                                Goods/Services
                            Reg. Date
ARMOUR                    3970978       Footwear, excluding golf footwear in Class 25
                          05-31-2011
 ARMOUR                   3720012       Clothing, excluding golf clothing, namely, hooded
                          12-01-2009    sweat shirts, crew neck shirts, long sleeve shirts,
                                        pullover shirts in Class 25
 ARMOUR                   4133248       Clothing, excluding golf clothing, namely, headwear,
                          04-24-2012    hats, caps, baseball caps and bras in Class 25
 ARMOUR                   5387620       On-line retail store services featuring apparel, footwear,
                          01-23-2018    headwear, eyewear, and sporting goods; and retail store
                                        services featuring apparel, footwear, headwear,
                                        eyewear, and sporting goods in Class 35
 ARMOUR FLEECE            3510702       Jackets, pants in Class 25
                          10-07-2008
 GAMEDAY                  4094318       Clothing, namely, shirts, t-shirts, short-sleeved shirts,
 ARMOUR                   01-31-2012    shorts; clothing for athletic use, namely, padded shorts;
                                        clothing for athletic use, namely, padded shirts in
                                        Class 25
ARMOURVENT                4642057       Athletic shirts; athletic shorts; baselayer bottoms;
                          11-18-2014    baselayer tops; bottoms; capri pants; capris; caps;
                                        compression garments for athletic or other non-medical
                                        use, namely, shirts, shorts; hats; headwear; jackets;
                                        leggings; long-sleeved shirts; shirts; short-sleeved shirts;
                                        shorts; sports shirts; t-shirts; tank tops; tank-tops; tops;
                                        track jackets; in Class 25
ARMOUR BRA                4142942       Bras in Class 25
                          05-15-2012
 ARMOUR                   3684393       Football gloves in Class 28
 GRABTACK                 09-15-2009

       29.     Under Armour also owns the following valid and subsisting Maryland trademark

registrations for its famous ARMOUR mark, among others (true and correct copies of which are

attached as Exhibit C):

      Mark                   Reg. No.   Reg. Date                  Products/Services
 ARMOUR                     2012-0227 12/18/12          Clothing, excluding golf clothing in
                                                        Class 39
 ARMOUR                     2012-0228 12/18/12          Knee pads for athletic use and
                                                        protective athletic cups in Class 22




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                  DEFENDANT AND ITS WRONGFUL ACTIVITIES

      30.    Defendant is in the business of fabricating parts (including bumpers) for

motorized snow vehicles, which it offers under the MOUNTAIN ARMOR mark, and to which

Under Armour has no objection.

      31.    Defendant, however, expanded its offerings to include moisture-wicking apparel,

including shirts and hats, under the MOUNTAIN ARMOR mark:




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       32.     Defendant offers, sells, and promotes its MOUNTAIN ARMOR apparel through

its website, http://www.mtnarmor.com/swag/, and, like Under Armour, promotes its apparel on

the Internet, specifically, via social media, including Facebook

(https://www.facebook.com/MountainArmor):




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       33.     Under Armour has worked to resolve this matter with Defendant for over two

years, but Defendant has refused to address Under Armour’s concerns and to stop trading on

Under Armour’s goodwill and marks.

       34.     On September 5, 2018, Under Armour sent Defendant a letter advising it of Under

Armour’s rights and asking that Defendant stop using MOUNTAIN ARMOR and any other

marks comprised of or containing ARMOR, ARMOUR, or any variations thereof in connection

with apparel, including its hats and shirts.

       35.     Under Armour’s in-house counsel spoke to Defendant’s prior counsel over the

phone in around September 2018, during which the parties discussed options for resolution.

Under Armour’s in-house counsel followed up numerous times to try to resolve this matter, but

was informed in December 2018 that the counsel Under Armour previously communicated with

no longer represented Defendant.

       36.     After not hearing from Defendant, and with Defendant’s infringing use of

MOUNTAIN ARMOR for apparel continuing, Under Armour followed up directly with

Defendant in April 2020, this time through outside counsel. After several follow-up emails,

Defendant responded to Under Armour’s counsel in September 2020 asserting that Under

Armour could not own the word “armo[u]r” because it is a word in the English language.

       37.     Under Armour responded in January 2021 by explaining its legal position,

namely, that “[t]he fact that something is a word doesn’t mean it cannot be a trademark” and “[i]t

is a fallacy that a ‘common’ word found in the dictionary cannot be a trademark.” 2 J. Thomas

McCarthy, McCarthy on Trademarks and Unfair Competition § 11:11 (5th ed. June 2021). In so

doing, Under Armour cited to other words that have since become strong trademarks, including

AMAZON, APPLE, NIKE, and SHELL. Under Armour reiterated its request that Defendant



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stop using MOUNTAIN ARMOR for apparel in its January 2021 response, but Defendant has

not responded, thus necessitating this lawsuit.

       38.     With full knowledge of Under Armour’s objections and rights, Defendant

continues to use its MOUNTAIN ARMOR mark in connection with apparel. As such,

Defendant has acted knowingly, willfully, in reckless disregard of Under Armour’s rights, and in

bad faith.

                    INJURY TO UNDER ARMOUR AND THE PUBLIC

       39.     Defendant’s unauthorized use of the MOUNTAIN ARMOR mark is likely to

cause confusion, mistake, and deception as to the source or origin of Defendant’s apparel

products, and is likely to falsely suggest a sponsorship, connection, or association between

Defendant, those products, and/or its commercial activities relative to those products with Under

Armour.

       40.     Defendant’s unauthorized use of the MOUNTAIN ARMOR mark is likely to

dilute the distinctiveness and value of Under Armour’s famous UNDER ARMOUR mark.

       41.     Defendant’s acts, described above, have damaged and irreparably injured and, if

permitted to continue, will further damage and irreparably injure Under Armour and its

ARMOUR Marks.

       42.     Defendant’s acts, described above, have irreparably injured, and, if permitted to

persist, will continue to irreparably injure the public, who has an interest in being free from

confusion, mistake, and deception.




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                                FIRST CLAIM FOR RELIEF
                               Trademark Infringement Under
                     Section 32(1) of the Lanham Act, 15 U.S.C. § 1114(1)

       43.     Under Armour repeats and realleges each and every allegation set forth in

Paragraphs 1 through 42 of this Complaint.

       44.     Without Under Armour’s consent, Defendant has used and continues to use in

commerce reproductions, copies, and colorable imitations of Under Armour’s registered

ARMOUR Marks in connection with the offering, distribution, and advertising of apparel. These

actions are likely to cause confusion, or to cause mistake, or to deceive, in violation of Section

32(1) of the Lanham Act, 15 U.S.C. § 1114(1).

                            SECOND CLAIM FOR RELIEF
                       Trademark Infringement, False Designation
                     of Origin, Passing Off, and Unfair Competition
          Under Section 43(a)(1)(A) of the Lanham Act, 15 U.S.C. § 1125(a)(1)(A)

       45.     Under Armour repeats and realleges each and every allegation set forth in

Paragraphs 1 through 44 of this Complaint.

       46.     Defendant’s actions, as described above, are likely to cause confusion, or to cause

mistake, or to deceive as to the origin, sponsorship, or approval of Defendant, its products,

and/or commercial activities by or with Under Armour. Defendant’s actions thus constitute

trademark infringement, false designation of origin, passing off, and unfair competition in

violation of Section 43(a)(1)(A) of the Lanham Act, 15 U.S.C. § 1125(a)(1)(A).

                                THIRD CLAIM FOR RELIEF
                              Trademark Dilution Under Section
                         43(c) of the Lanham Act, 15 U.S.C. § 1125(c)

       47.     Under Armour repeats and realleges each and every allegation set forth in

Paragraphs 1 through 46 of this Complaint.




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        48.    Under Armour’s UNDER ARMOUR mark is famous, as that term is used in 15

U.S.C. § 1125(c), and was famous before Defendant’s first use of MOUNTAIN ARMOR based

on, among other things, the inherent distinctiveness and federal registration of Under Armour’s

UNDER ARMOUR mark and the extensive nationwide use, advertising, promotion, and

recognition of that mark.

        49.    Defendant’s actions, as described above, are likely to dilute the distinctive quality

of Under Armour’s famous UNDER ARMOUR mark by blurring in violation of Section 43(c) of

the Lanham Act, 15 U.S.C. §1125(c), as amended by the Trademark Dilution Revision Act of

2006.

                               FOURTH CLAIM FOR RELIEF
                               Trademark Infringement Under
                               Md. Code Bus. Reg. § 1-414 et seq.

        50.    Under Armour repeats and realleges each and every allegation set forth in

Paragraphs 1 through 49 of this Complaint.

        51.    Defendant’s uses, without the consent of Under Armour, of reproductions and/or

colorable imitations of Under Armour’s registered ARMOUR Marks in connection with the sale,

offering for sale, and/or advertising of goods or services, are likely to cause confusion, or to

deceive as to the origin of the goods or services, and thus constitute trademark infringement in

violation of Md. Code Bus. Reg. § 1-414 et seq.

        52.    Defendant’s reproductions and/or colorable imitations of Under Armour’s

registered ARMOUR Marks, and application of those reproductions and/or colorable imitations

to Defendant’s advertising, labels, prints, receptacles, signs, or wrappers that are intended to be

used with goods or services and/or in conjunction with the sale or other distribution of goods or




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services in Maryland, constitute trademark infringement in violation of Md. Code Bus. Reg.

§ 1-414 et seq.

                               FIFTH CLAIM FOR RELIEF
              Trademark Infringement, False Advertising, and Unfair Competition
                               Under Maryland Common Law

        53.       Under Armour repeats and realleges each and every allegation set forth in

Paragraphs 1 through 52 of this Complaint.

        54.       Defendant’s actions, as described above, are likely to cause confusion, or to cause

mistake, or to deceive as to the affiliation, connection, or association of Defendant with Under

Armour, or as to the origin, sponsorship, or approval of Defendant, its products, and/or its

commercial activities by or with Under Armour such that Defendant’s acts constitute

infringement of Under Armour’s proprietary rights in its ARMOUR Marks, misappropriation of

Under Armour’s goodwill in those marks, and unfair competition under Maryland common law.

        55.       Defendant’s actions, as described above, constitute false and misleading

descriptions and misrepresentations of fact in commerce, which, in commercial advertising and

promotion, materially misrepresent the nature, characteristics, and qualities of Defendant’s

products and constitute false and deceptive advertising under Maryland common law.

                                          JURY DEMAND

        Pursuant to Fed. R. Civ. P. 38, Under Armour respectfully demands a trial by jury on all

issues properly triable by a jury in this action.

                                      PRAYER FOR RELIEF

        WHEREFORE, Under Armour respectfully requests that this Court enter judgment in its

favor on each and every claim for relief set forth above and award it relief including, but not

limited to, the following:



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       A.      An Order declaring that Defendant’s uses of the MOUNTAIN ARMOR mark for

apparel infringe Under Armour’s ARMOUR Marks, dilute Under Armour’s UNDER ARMOUR

mark, and constitute unfair competition under federal and/or state law, as detailed above;

       B.      A permanent injunction enjoining Defendant and its employees, agents, partners,

officers, directors, owners, shareholders, principals, subsidiaries, related companies, affiliates,

distributors, dealers, and all persons in active concert or participation with any of them:

               1.      From using, registering, or seeking to register the MOUNTAIN ARMOR

       mark any form, including in connection with any other wording or designs, on apparel,

       headwear, and any similar products likely to be confused with Under Armour and from

       using any other marks, logos, designs, designations, or indicators that are confusingly

       similar to any of Under Armour’s ARMOUR Marks and/or dilutive of Under Armour’s

       UNDER ARMOUR mark in connection with such products;

               2.      From representing by any means whatsoever, directly or indirectly, that

       Defendant, any products or services offered by Defendant, or any activities undertaken by

       Defendant, are associated or connected in any way with Under Armour or sponsored by

       or affiliated with Under Armour in any way;

               3.      From assisting, aiding or abetting any other person or business entity in

       engaging in or performing any of the activities referred to in subparagraphs C(1)-(2);

       C.      An Order directing Defendant to destroy all apparel, headwear, and similar

products that contain or bear Defendant’s MOUNTAIN ARMOR mark and related packaging,

signage, advertisements, promotional materials, and/or any other materials

       D.      An Order directing that, within thirty (30) days after the entry of the injunction,

Defendant file with this Court and serve on Under Armour’s attorneys a report in writing and



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under oath setting forth in detail the manner and form in which Defendant has complied with the

injunction;

       E.      An Order requiring Defendant to account for and pay to Under Armour any and

all profits arising from the foregoing acts, and increasing such profits, in accordance with 15

U.S.C. § 1117 and other applicable laws including, but not limited to, Md. Code Bus. Reg.

§ 1-414 et seq.;

       F.      An Order requiring Defendant to pay Under Armour damages in an amount as yet

undetermined caused by the foregoing acts and trebling such damages in accordance with 15

U.S.C. § 1117 and other applicable laws including, but not limited to, Md. Code Bus. Reg.

§ 1-414 et seq.;

       G.      An Order requiring Defendant to pay Under Armour all of its litigation expenses,

including reasonable attorneys’ fees and the costs of this action pursuant to 15 U.S.C. § 1117 and

other applicable laws;

       H.      An Order requiring Defendant to pay Under Armour punitive damages for

trademark infringement and unfair competition under Maryland common law; and

       I.      Other relief as the Court may deem appropriate.




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Dated: August 12, 2021       Respectfully submitted,

                              /s/ Douglas A. Rettew
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